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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   FRANCINE ZEPEDA, Bar #091175
     ERIC V. KERSTEN, Bar #2264429
 3   Assistant Federal Defender
     Designated Counsel for Service
 4   2300 Tulare Street, Suite 330
     Fresno, California 93721-2226
 5   Telephone: (559) 487-5561
 6   Attorney for Defendant
     DAVID MARSHALL CRISP
 7
 8                                IN THE UNITED STATES DISTRICT COURT
 9                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )            No. 1:11-cr-00026 LJO
                                           )
12                     Plaintiff,          )
                                           )            ORDER TO UNSEAL
13         v.                              )
                                           )
14   DAVID MARSHALL CRISP, ET AL.,         )
                                           )            Judge: Hon. Lawrence J. O’Neill
15                     Defendants          )
     _____________________________________ )
16
17
              The Court hereby orders that the Order Appointing Coordinating Discovery Attorney Shazzie
18
     Naseem, filed under seal May 17, 2012, in the above-entitled matter, shall be unsealed.
19
     IT IS SO ORDERED.
20
     Dated:      May 17, 2012                        /s/ Lawrence J. O'Neill
21   b9ed48                                      UNITED STATES DISTRICT JUDGE
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